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                  EXHIBIT 3
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 1                      UNITED STATES DISTRICT COURT

 2                 FOR THE WESTERN DISTRICT OF NEW YORK

 3

 4    BLACK LOVE RESISTS IN THE RUST, et al.,

 5    individually and on behalf of a class of

 6    all others similarly situated,

 7                                         Plaintiffs,

 8    vs.                                                 1:18-cv-00719-CCR

 9    CITY OF BUFFALO, N. y. ,     et al . ,

10                                         Defendants.

11

12                   ORAL EXAMINATION OF AARON YOUNG

13                            APPEARING REMOTELY FROM

14                               BUFFALO, NEW YORK

15

16                       Wednesday, October 26, 2022

17                             9:00 a.rn. - 2:15 p.rn.

18                              pursuant to notice

19

20

21    REPORTED BY:

22    Luanne K. Howe

23    APPEARING REMOTELY FROM CUYAHOGA COUNTY, OHIO



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 1                    R E MO T E    A P P E A R A N C E S

 2

 3    APPEARING FOR THE PLAINTIFFS:

 4          NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
            BY: CLAUDIA WILNER, ESQ.
 5          50 Broadway, Suite 1500
            New York, New York 10004
 6          212-633-6967

 7    APPEARING FOR THE DEFENDANTS:

 8          HODGSON RUSS
            BY: PETER SAHASRABUDHE, ESQ.
 9          The Guaranty Building
            140 Pearl Street, Suite 100
10          Buffalo, New York 14202
            716-848-1508
11
      ALSO PRESENT:
12
            CHRISTINE NELSON, ESQ.
13          Covington & Burling LLP

14          SARA LUNDEN
            National Center for Law and Economic Justice
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 1            a traffic violation in order to be able to make the

 2            stop?

 3                            MR. SAHASRABUDHE:     Form.

 4     A      I don't believe so.

 5     Q      Does the BPD have any written policy on investigatory

 6            stops?

 7     A      Not that I can recall at this moment.

 8     Q      Is there an unwritten policy on investigative stops?

 9                            MR. SAHASRABUDHE:     Form.

10     A      No.

11     Q      Does the BPD provide training or guidance to officers

12            on making investigatory stops?

13     A      Yes, they do.     During the academy          during the

14            police academy, which is run by Erie County.

15     Q      And would that be a standard training that applies to

16            traffic stops in general?

17     A      Yes.

18     Q      Do you believe that the race of the person stopped is

19            a relative consideration when making an investigatory

20            stop?

21     A      No, I don't.

22     Q      Is that something that you ever discussed with your

23            officers?



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